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(Print Name & |D Number) _ (Date) (l'ime)
lNMATE WR|TTEN NOT!CE OF HEAR|NG
Reviewing Officer’s Recommendation: ii 5 ii § " l 6 v g
Does inmate desire a hearing on this matter: YES § vN`O "j §
if hearing is desired, does inmate waive_,24-h0ur notice.: § YES N6 Date / Time ' /
Reviewing Officer: "`9'~ 55 §§ jj ' inmate Signature:£§'“
(Print Namé & iD Number)
lNMATE D|SC|PL|NARY HEARING
inmate Statement:
Summary of Findings and Fiecommendation:
inmate agrees rule violated: YES NO
inmate consent to action recommended: YES NO Hearing He|d: /
Hearing Officer: inmate Signature:

 

 

(Print Name & lD Number)

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(Date) (Time) ' `

Commander/ Designee:

 

Distribution: WH|TE - Booking fiie, CANARY - Ciassification Officer, PlNK - (Compieted Hearing) lnmate, GOLDENROD - (Notice `of Hearing) lnmate.

RsD Form 523 (Revised 07/03)

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1/19/07 Page: 2

Motion Granted

Court authorizes $1000.00 in ivestigator funds.

Oral Motion By Defendant regarding different investigator for
this case is called for hearing.

Motion Granted
»Court appoints investigator Hector Gonzalez.

Oral Motion By People regarding set bail at schedule w/ strike
prior alleg.

Argument by Defendant.

Motion Denied.

Motion for BAIL REVIEW is set on 01/24/2007 at 8:30 in
Department 53.

Oral Motion By Defendant regarding be seen by medical personnel
is called for hearing.

Motion Granted

Defendant ordered to return on any and all future hearing dates.
*****ATTN JAIL*******

COURT ORDERS DEFENDANT BE SEEN BY MEDICAL

PERSONNEL RE: BULLET IN HIS BACK************

****ATTN JAIL»DEFENDANT TO BE TRANSPORTED 1/24/07

TO D53 AT 8:30 FOR BAIL HEARING*********

Bail To Remain as fixed. . .

Remains remanded to custody Of Riverside Sheriff.

Minute Order printed to Robert Presley Detention Center.

**MINUTE ORDER OF COURT PROCEEDING**

Dispo

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